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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES -- GENERAL

Case No.    CV 16-8040-MWF(AGRx)                                       Dated: January 9, 2017

Title:      Carpenters Southwest Administrative Corporation, et al. -v- H K B, Inc., et al.

PRESENT:    HONORABLE MICHAEL W. FITZGERALD, UNITED STATES DISTRICT JUDGE

            Rita Sanchez                             Nichole Forrest
            Courtroom Deputy                         Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                  ATTORNEYS PRESENT FOR DEFENDANTS:

            Thomas L. Davis                          James E. Holland, Jr.
                                                     Nicholas J. Begakis


PROCEEDINGS:             MOTION TO DISMISS THE CASE OR IN THE
                         ALTERNATIVE TO TRANSFER VENUE [11];
                         JOINDER [12]

      The Courtroom Deputy Clerk distributes the Court's tentative ruling prior to the case
being called.

      Case called, and counsel make their appearance. The Court hears oral argument from
counsel and takes the matter under submission. An order will issue.




                                                                Initials of Deputy Clerk    rs   
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